                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )       NO. 3:12-00013
                                                  )       JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                       )

                                           ORDER



      Due to a criminal trial, the status conference currently scheduled for August 29, 2013, is

RESCHEDULED for October 8, 2013, at 10:00 a.m.

      It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013      Document 524       Filed 08/26/13      Page 1 of 1 PageID #: 1556
